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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA,
                                                       Case No. 1:23-cv-00369-NRM-RML
                         Plaintiff,

                 -against-

  RARE BREED TRIGGERS, LLC; RARE                               NOTICE OF APPEAL
  BREED FIREARMS, LLC; LAWRENCE
  DEMONICO; KEVIN MAXWELL,

                        Defendants.


        Notice is hereby given that Defendants hereby appeal to the United States Court of

 Appeals for the Second Circuit, pursuant to 28 U.S.C. § 1292(a)(1), from the decision and order

 entered September 5, 2023, granting Plaintiff’s motion for preliminary injunctive relief pursuant

 to Rule 65 of the Federal Rules of Civil Procedure (the “September 5 Order”). This appeal is

 taken from each and every part of the September 5 Order.


 Dated: Newark, New Jersey
        October 4, 2023

                                                      /s/ Josiah Contarino
                                                     Josiah Contarino
                                                     David A. Warrington (pro hac vice)
                                                     Michael A. Columbo (pro hac vice)
                                                     Jacob William Roth (pro hac vice)
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